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UNITED STATES DISTRICT COURT

DISTRICT OF MINNESOTA
CHRISTOPHER KOHLS and Court File No. 24-cv-03754 (LMP/DLM)
MARY FRANSON,
Plaintiffs,
vs. EXPERT DECLARATION OF

PROFESSOR JEFF HANCOCK
KEITH ELLISON, in his official capacity
as Attorney General of Minnesota, and
CHAD LARSON, in his official capacity
as County Attorney of Douglas County.
Defendants.
I, Jeff Hancock, declare as follows:

1. I am the founding director of the Stanford Social Media Lab and the Harry
and Norman Chandler Professor of Communication at Stanford University. I am also the
Faculty Director of the Stanford Internet Observatory and co-Director of the Stanford
Cyber Policy Center, and asenior fellow at the Freeman Spogli Institute. I am
also Founding Editor of the Journal of Trust & Safety, the leading journal focusing on
research related to spam and fraud online, misinformation and deepfakes, child exploitation
and non-consensual intimate imagery, suicide and self harm, hate speech and harassment.

2, I am a leading expert in social media behavior and the psychology of online
interaction. I conduct studies on the impact of social media and artificial intelligence (AI)
technology on misinformation and trust, on psychological well-being, digital literacy and

how we use and understand language. Recently I have begun work on understanding the

mental models people have about algorithms and AI, as well as working on the ethical
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issues associated with computational social science. I have received numerous awards for
my research, and I have published over 100 journal articles and conference proceedings.
My research has been supported by funding from the U.S. National Science Foundation
and the U.S. Department of Defense.

Bi A full overview of my professional experience and publications is provided
in my full academic curriculum vitae, a copy of which is attached as Exhibit A, and my
shorter expert witness curriculum vitae, a copy of which is attached as Exhibit B.

4. I have further identified the academic, scientific, and other materials
referenced in this declaration in the references attached as Exhibit C.

5. I have been retained by the Office of the Minnesota Attorney General to
provide expert opinion and testimony regarding how AI is influencing misinformation on
social media and the psychological impact of deceptive deepfakes, particularly deepfakes
shared on social media. I am being compensated at my government rate of $600 per hour.

6. I have reviewed Minnesota’s electoral deepfake law, Minnesota Statutes
section 609.771, and the Complaint in this case. In this declaration, I provide my expert
views, based on my training and experience, with reference to recent research, on:

- how Al is changing the way that misinformation is shared and received on social
media;

- the psychological impact of deepfakes, with a particular focus on how deepfakes
undermine trust, including in the electoral context; and

- the limits of corrections, fact-checking, and other counterspeech and how they
are particularly ineffective in the context of deepfakes.
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I. BACKGROUND ON AI, SOCIAL MEDIA, AND THE SPREAD OF DEEPFAKES.
Overview of AI and its Use on Social Media Platforms Today

7. Artificial Intelligence (AI) refers to computer systems designed to perform
tasks that typically require human intelligence, such as recognizing speech, making
decisions, solving problems, and understanding natural language (Russell & Norvig, 2021).
AI systems learn from data and can improve their performance over time without being
explicitly programmed for each specific task.

8. Generative AI is a subset of AI focused on creating new content—such as
text, images, or videos—by learning patterns from large datasets. A prominent example of
generative AI is Large Language Models (LLMs), which are trained on extensive
collections of text from books, articles, websites, and other sources. These models generate
human-like text by predicting word sequences based on the input they receive (Radford et
al., 2019); LLMs can now be used frequently in human communication contexts like social
media (Hancock, Naaman & Levy, 2020).

9. On social media platforms, generative AI and LLMs are increasingly used in
various ways:

1) Content Creation: AI assists users in drafting social media posts, blogs, and
comments. Users can input a brief prompt, and the AI generates a full post
or article in a conversational or professional tone. This can dramatically
accelerate massive content production and allows for personalized
communication.

i1) Chatbots and Virtual Assistants: Many platforms use LLMs to power
chatbots that interact with users by answering questions or engaging in

conversations. These AI systems simulate human dialogue to provide
customer service, product recommendations, or social companionship.
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11) | Content Moderation: Al is employed by social media platforms to detect and
flag inappropriate content. LLMs help recognize harmful language,
disinformation, or policy violations. However, Al-based moderation can be
imperfect and subject to biases inherent in the training data.

iv) | Personalized Recommendations: AI recommends content to users based on
their past interactions, preferences, and engagement patterns. This includes
suggesting posts, videos, or advertisements that align with the user's
interests, enhancing user engagement.

v) Image and Video Generation: Generative AI creates or enhances images and
videos. Tools enabling users to produce stylized profile pictures or AI-
generated artwork have gained substantial popularity on social platforms by
allowing users to more easily create and modify images and videos.

Overview of Deepfakes and the Impact of AI on Deepfakes

10. Deepfakes are highly realistic, Al-generated manipulations of digital
content—typically videos or images—where a person’s likeness, voice, or actions are
convincingly altered or fabricated. These forgeries utilize advanced artificial intelligence
techniques to simulate human behavior and appearance, making it difficult for the average
person to discern that the content is fake. The term “deepfake” combines “deep learning”
(a subset of AI) and “fake,” highlighting the use of complex AI methods to create these
deceptive materials.

11. Deepfakes are primarily produced using a type of AI architecture known as
Generative Adversarial Networks (GANs). GANs consist of two neural networks: the
generator and the discriminator. The generator creates fake content, while the discriminator
attempts to distinguish between real and fake content. Through this adversarial process, the

generator progressively improves its ability to produce realistic media that can mimic

human faces, voices, and movements with remarkable accuracy (Farid, 2022).
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12. To create a deepfake, substantial amounts of data—such as photos, videos,
or audio clips of the target individual—are input into the AI model. The AI analyzes this
data to learn the person’s facial expressions, voice patterns, and mannerisms. It then applies
these learned characteristics to another piece of footage or generates new, fabricated
scenes. The result is often a seamless video or image that can deceive viewers into believing
the person is performing actions or speaking words they never actually did.

13. | Deepfakes distinguish themselves from traditional digital manipulations due
to their high level of realism and ability to replicate nuanced human behaviors. Deepfakes
capture subtle details like facial muscle movements and speech intonations, making them
significantly more challenging to detect without specialized tools (Farid, 2022).

14. Advancements in generative AI, particularly through GANs, have
significantly transformed the production of deepfakes. The period between 2017 and 2019
marks a significant shift in the ease of creating deepfakes. While GANs were introduced
in 2014, it was the subsequent improvements in model architectures and the release of
accessible tools that lowered technical barriers. These developments allowed individuals
without specialized expertise to generate convincing deepfake content, leading to increased
prevalence and concern over the misuse of such technology. These technological
developments have lowered the barrier to creating deepfakes, requiring minimal technical
expertise. What was once the domain of skilled programmers is now accessible to the
general public via user-friendly generative AI tools and open-source platforms. This

increased accessibility has led to a surge in the creation and dissemination of deepfakes.
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15. This democratization of deepfake technology raises serious concerns due to
its potential misuse in spreading disinformation and manipulating public perception.
Deepfakes have been employed to impersonate individuals in fraudulent schemes,
manipulate media content, and craft false narratives on social media platforms. As these
Al-generated forgeries become more sophisticated, they pose a growing threat to trust in
authentic media and public figures, especially when rapidly disseminated through social
platforms. Deepfakes can erode public trust and have significant psychological and societal
effects. Deepfakes contribute to the spread of misinformation, create confusion about the
authenticity of legitimate content, and potentially harm individuals' reputations and well-
being (Hancock & Bailenson, 2021).

16. |The combination of generative Al's capabilities and the viral nature of social
media presents a significant threat to online trust and safety. In response, researchers and
platforms are working to develop advanced detection technologies and establish policy
frameworks to counter the rise of deepfakes. However, the rapid evolution of AI tools
continues to present challenges in effectively mitigating these risks.

Al is Transforming the Misinformation Landscape

17. The advent of generative AI models has significantly transformed the
landscape of misinformation by changing how it is created, shared, and consumed. These
systems have dramatically lowered the barriers to producing convincing misinformation at
scale. This transformation presents new challenges compared to traditional forms of media:

i. Proliferation of Misinformation Due to Reduced Costs (“Flooding the

Zone”): Generative AI has made it cheap and efficient to produce large
volumes of misleading or false content, the low cost and high speed of AI-

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generated content enable malicious actors to “flood the zone” with
misinformation, overwhelming information ecosystems and making it
difficult for consumers to discern truth from falsehood. This saturation
diminishes the visibility of accurate information and can manipulate public
opinion by sheer volume (Goldstein et al., 2023).

ul. Tailoring and Personalization: AI technologies allow for the tailoring of
misinformation to specific audiences or even individuals. By leveraging data
on user preferences and behaviors, AI can generate personalized content that
resonates with the target's beliefs and biases. This personalization increases
the effectiveness of influence operations by making messages more
persuasive and harder for individuals to dismiss (Goldstein et al., 2023).

ii. Difficulty in Detection: The sophistication of Al-generated content makes it
increasingly difficult to detect misinformation. Advanced models can
produce text, images, audio, and video that closely mimic authentic content.
Traditional detection methods, which rely on identifying inconsistencies or
known patterns of falsehoods, are less effective against AlI-generated
misinformation. As AI models improve, the artifacts that once signaled fake
content diminish, complicating efforts by platforms and researchers to
identify and remove such content (Farid, 2022).

iv. Enhanced Persuasive Power Through Audio and Video: The ability of AI to
generate realistic audio and video deepfakes amplifies the persuasive power
of misinformation. Audio and visual content have a stronger impact on
human perception and memory compared to text. By creating convincing
deepfake videos or audio recordings of individuals appearing to say or do
things they never did, AI can significantly influence public opinion and
damage reputations. Deepfakes in audio and video formats can exploit the
trust people place in sensory information, making the misinformation more
effective and much more difficult to refute (Hancock & Bailenson, 2021).

II. THE PSYCHOLOGICAL IMPACTS OF DEEPFAKES.

18. The media characteristics of deepfakes significantly enhance the
persuasiveness of misinformation due to their ability to mimic real-life sensory
experiences. Humans naturally place a high degree of trust in what they see and hear,

making deepfakes particularly effective in influencing beliefs and opinions.
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19. Research indicates that deepfake videos are more likely to be believed than
text-based misinformation because they engage multiple senses simultaneously, creating a
stronger illusion of authenticity. The realistic portrayal of individuals, especially public
figures, engaging in fabricated actions or statements exploits the cognitive biases that lead
people to accept visual and auditory information as truth (De keersmaecker & Roets, 2023).

20. Deepfakes can significantly influence political beliefs by presenting
convincing false narratives that are difficult to refute. The visual and auditory realism of
deepfakes can undermine trust in legitimate media sources and political institutions,
leading to confusion and polarization among the public (Vaccari & Chadwick, 2020).

21. Moreover, the difficulty in disbelieving deepfakes stems from the
sophisticated technology used to create seamless and lifelike reproductions of a person's
appearance and voice. One study found that even when individuals are informed about the
existence of deepfakes, they may still struggle to distinguish between real and manipulated
content. This challenge is exacerbated on social media platforms, where deepfakes can
spread rapidly before they are identified and removed (Hwang et al., 2023).

22. People are more likely to doubt the authenticity of a political video if the
content is inconsistent with their perceptions of the politician’s typical behavior or known
viewpoints. Familiarity with the politician and the implausibility of the statements made in
the deepfake increased skepticism among viewers. However, if the deepfake aligns with
the viewer’s expectations or biases, they are less likely to question its authenticity

(Hameleers et al, 2024).
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23. | The audio and video aspects of deepfakes not only enhances their persuasive
impact but also poses significant risks to democratic processes and societal trust. The
ability to fabricate credible evidence can be used to discredit public figures, incite unrest,
or manipulate electoral outcomes. As such, deepfakes represent a potent tool for malicious
actors seeking to influence political beliefs, disrupt social cohesion and undermine trust in
institutions (Hancock & Bailenson, 2021).

Ill. THE LIMITS OF FACT-CHECKING AND OTHER COUNTERSPEECH.

24. Traditional fact-checking methods are less effective in combating deepfakes
due to the sophisticated and deceptive nature of these manipulated audio and video files.
Deepfakes pose unique challenges because they can produce highly realistic fabrications
of individuals appearing to say or do things they never did, which are difficult to detect
without specialized technical tools and expertise. Fact-checkers relying on conventional
techniques may struggle to verify the authenticity of such content, as deepfakes often lack
the textual inconsistencies or factual errors that traditional methods uncover.

25. Another significant challenge in combating deepfakes is the rapid speed at
which they can spread on social media platforms, often outpacing traditional forms of
content due to their sensational and visually compelling nature. Deepfakes are designed to
capture attention and provoke strong emotional responses, which increases their likelihood
of going viral quickly and reaching large audiences before detection and removal are
possible (Goldstein, 2023). For example, in 2021, a series of deepfake videos featuring
actor Tom Cruise emerged on TikTok under the account “@deeptomcruise.” The
sophistication of the deepfake technology used made it difficult for viewers to distinguish

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these videos from authentic footage. Within days, the account amassed over 11 million
views and attracted hundreds of thousands of followers, demonstrating how quickly such
content can captivate and deceive large audiences on social media platforms (Metz, 2021).

26. One traditional approach to combatting deepfakes is labeling. Research
demonstrates that labeling content as a “deepfake” can significantly influence how
audiences perceive both manipulated and authentic information. Research suggests that
when a video is labeled as a deepfake or as manipulated by AI, people are more likely to
be skeptical of it, suggesting labels can be effective. But other research suggests labeling
can also be used to undermine authentic information. In one study (Hameleers & Marquart,
2020), when an authentic political speech was labeled as a deepfake, participants perceived
it as less credible and less authentic. This indicates that while labeling can alert viewers to
potential manipulations, it can also undermine the credibility of genuine content when
misapplied. Erroneously labeling authentic content as a deepfake can delegitimize truthful
communication and diminish public confidence in accurate information.

27. While labeling strategies can be effective in helping audiences identify
manipulated media, labeling can also produce a “liar's dividend,” where individuals exploit
the existence of deepfakes to deny the authenticity of real events by claiming they are
fabricated. Misapplication of deepfake labels can provide malicious actors with plausible
deniability, allowing them to dismiss genuine evidence as false.

28. Another important concern about deepfakes is their potential to create false
memories, in which a person’s recollection matches the deepfake version of an event rather

than the actual event. In one recent study by false memory scholar Elizabeth Loftus and

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her colleagues (2024), participants were first presented with original images to establish a
baseline, and after a filler task they viewed Al-modified versions of that image, including
a condition with Al-generated videos. The AI modifications included changes like an
increased military presence. When participants’ memories were assessed, the percentage
of false memories were two times higher in the deepfake video condition than the control,
suggesting that deepfakes can significantly increase false memories.

29. Repeated exposures to deepfakes are also an important problem. A recent
large scale study across 8 countries (Ahmed et al., 2024) investigated how deepfakes
contribute to the Illusory Truth Effect ITE)—a psychological phenomenon where repeated
exposure to misinformation increases its perceived accuracy. The study found that
individuals who had previously been exposed to deepfakes were more likely to perceive
them as accurate compared to those encountering them for the first time, for both political
and non-political deepfakes. The study found that social media news consumption
amplifies the ITE for all individuals, irrespective of their cognitive ability levels. This
suggests that even individuals with higher cognitive abilities are not immune when they
heavily engage with news on social media.

30. These psychological studies confirm that exposure to deepfakes can
undermine trust in institutions by making it harder for individuals to discern true
information from falsehoods and to recall what is true versus a false memory. The exposure
to deepfakes contributes to increased uncertainty, not only about the veracity of
information, but about the veracity of our memories. This skepticism can extend to

legitimate news and official communications, thereby undermining trust in traditional

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information gatekeepers and institutions. By making false political information more
believable, deepfakes can potentially influence public opinion and electoral outcomes,
posing a threat to democratic institutions and processes (Hancock & Bailenson, 2021).

IV. CONCLUSION

31. |The advancement of generative AI and the proliferation of deepfakes present
significant challenges to the integrity of information and the trust placed in institutions.
Deepfakes leverage sophisticated AI technologies to create highly realistic and persuasive
misinformation that can spread rapidly on social media platforms. The psychological
impacts are profound: deepfakes can manipulate perceptions, create false memories, and
exploit cognitive biases, making it difficult for individuals to discern truth from falsehood.

32. ‘Traditional methods of fact-checking and counterspeech are insufficient to
address the sophisticated and rapidly spreading nature of deepfakes. Regulatory measures,
combined with technological solutions and public awareness efforts, are necessary to
combat the risks associated with deepfakes. In my expert view, enacting and enforcing
laws that specifically target the production and dissemination of deceptive deepfake
content during elections are critical in preserving the integrity of democratic institutions
and protecting the foundational trust upon which they rely.

PURSUANT TO 28 U.S.C. § 1746, I DECLARE UNDER PENALTY OF
PERJURY THAT EVERYTHING I HAVE STATED IN THIS DOCUMENT IS TRUE
AND CORRECT.

Dated: Nov 1, 2024

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JEFF HANCOCK

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